Case 8:20-cv-02184-MSS-SPF Document 6 Filed 09/18/20 Page 1 of 2 PageID 214




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

MELANIE MOORE,

             Plaintiff,

v.                                                 Case No. 8:20-cv-2184-T-35SPF

POOCHES OF LARGO, INC., d/b/a
Petland, and LUIS MARQUEZ,

             Defendants.
                                         /


                                         ORDER

      This matter comes before the Court upon Plaintiff’s Application to Proceed in District

Court without Prepaying Fees or Costs (Doc. 2), which the Court construes as a motion to

proceed in forma pauperis pursuant to 28 U.S.C. § 1915, and Plaintiff’s Request for Court

Appointed Attorney (Doc. 3).

      Upon consideration, it is hereby ORDERED:

      1.     Plaintiff’s motion to proceed in forma pauperis (Doc. 2) is GRANTED.

      2.     Plaintiff is DIRECTED to complete and return the “Summons in a Civil

Action” AO 440 forms and the “Process Receipt and Return” USM-285 forms to the Clerk

within twenty-one (21) days, whereupon the United States Marshal is DIRECTED to serve

the summonses on the Defendants.

      3.     Plaintiff’s Request for Court Appointed Attorney (Doc. 3) is DENIED.

Appointment of counsel for plaintiffs proceeding in forma pauperis pursuant to 28 U.S.C. §

1915 in civil cases is only warranted in exceptional circumstances. Here, Plaintiff has not
Case 8:20-cv-02184-MSS-SPF Document 6 Filed 09/18/20 Page 2 of 2 PageID 215




presented exceptional circumstances warranting appointment of counsel. See Brown v. John

Deere Prod., Inc., 460 F. App’x 908, 909 (11th Cir. 2012) (appointment of counsel in civil cases

warranted in “exceptional circumstances;” whether such circumstances exist is committed to

the district court’s discretion); Dean v. Barber, 951 F.2d 1210, 1216 (11th Cir. 1992) (“The

appointment of counsel is instead a privilege that is justified only by exceptional

circumstances, such as where the facts and legal issues are so novel or complex as to require

the assistance of a trained practitioner.”) (quoting Poole v. Lambert, 819 F.2d 1025, 1028 (11th

Cir. 1987)). Plaintiff is encouraged to consult the “Litigants Without Lawyers” section of the

Court’s website, located at http://www.flmd.uscourts.gov/litigants-without-lawyers, which

includes information about Lawyer Referral Services offered by the Florida Bar and local legal

aid services at https://www.flmd.uscourts.gov/lawyer-referral-services.

       4.     Because Plaintiff has not provided an address in the record and alleges that she

is homeless, the Clerk is directed to email a copy of this Order to Plaintiff at

vettechmnm@gmail.com. (See Doc. 1 at 85).

       ORDERED in Tampa, Florida, on September 18, 2020.




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